Case 1:21-cv-01453-RGA-JLH Document 67 Filed 11/21/22 Page 1 of 2 PageID #: 7900




                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

  SAMSUNG ELECTRONICS CO., LTD.                    )
  AND SAMSUNG SEMICONDUCTOR,                       )
  INC.,                                            )
                                                   )
              Plaintiffs,                          )
                                                   )
         v.                                        ) C.A. No. 21-1453-RGA-JLH
                                                   )
  NETLIST, INC.,                                   )
                                                   )
              Defendant.                           )
                                                   )
  NETLIST, INC.                                    )
                                                   )
              Counter Plaintiff,                   )
                                                   )
         v.                                        )
                                                   )
  GOOGLE LLC, ALPHABET INC.,                       )
  SAMSUNG ELECTRONICS CO., LTD.                    )
  AND SAMSUNG SEMICONDUCTOR,                       )
  INC.,                                            )
                                                   )
               Counter Defendants.                 )

                               STIPULATION TO EXTEND TIME

        The parties hereby stipulate and agree, subject to the approval of the Court, that the time

 for Netlist, Inc. to respond to Google LLC and Alphabet Inc.’s Motion to Dismiss or Alternatively,

 Sever and Stay and Dismiss Willfulness and Indirect Infringement Allegations (“Motion”) (D.I.

 63) shall be extended until December 6, 2022. The parties further stipulate that the time for Google

 LLC and Alphabet Inc. to file a reply brief in support of its Motion is extended through and

 including December 20, 2022.
Case 1:21-cv-01453-RGA-JLH Document 67 Filed 11/21/22 Page 2 of 2 PageID #: 7901




  /s/ Kelly E. Farnan                              /s/ Emily S. DiBenedetto
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  Dated: November 21, 2022                         Attorneys for Netlist, Inc.



       SO ORDERED, this ____ day of ___________, 2022.


                                    _______________________________
                                       United Stated District Judge




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